
REGAN, Judge.
Plaintiff, Joseph A. Romano, instituted this suit against the defendant, Maryland Casualty Company, his robbery insurer, endeavoring to recover the policy limits of $5000, representing part of a $13,000 loss he incurred as the result of a robbery of his restaurant and bar on March 4, 1957. Plaintiff further prayed for statutory penalties and attorney’s fees.
The defendant answered and denied coverage, asserting that plaintiff failed to comply with the policy provisions requisite to his recovery in that he did not itemize the property stolen nor did he produce books or records to substantiate his alleged loss.
From a judgment dismissing plaintiff’s suit, he has prosecuted this appeal.
This case was consolidated with two similar suits, arising out of two similar robbery policies, under which the insurers who issued them both denied coverage for substantially the same reason as the defendant in this matter. The suits referred to are entitled Romano v. National Union Indemnity Company, La.App., 142 So.2d 568, and Romano v. Southern Marine &amp; Aviation Underwriters, Inc., La.App., 142 So.2d 571. An opinion and decree were handed down in both on this day and for the reasons stated in the latter case, this judgment is affirmed.
Affirmed.
